     Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 1 of 13




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


UNITED STATES OF AMERICA

V.                                                  CR 218-14


MARCUS MUNGIN



                               PLEA AGREEMENT


       Defendant, Marcus Mungin,represented by his counsel Reid Zeh, Esq., and the

United States of America, represented by Assistant United States Attorney Matthew

A. Josephson, have reached a plea agreement in this case. The terms and conditions

of that agreement are as follows.

1.     (rinlty Plea

       Defendant agrees to enter a plea of guilty to Count Thirty of the Indictment,

which charges a violation of 21 U.S.C. § 843(b), Unlawful Use of a Communication

Facility.

2.     Elements and Factual Basis

       The elements necessary to prove the offense of Count Thirty are as follows:

FIRST:        The defendant used a communication facility, specifically a telephone.

SECOND: The defendant used the communication facihty while committing or
        helping to commit the crime charged in Count One of the Indictment,
              namely the conspiracy to possess with intent to distribute and to
              distribute controlled substances.

THIRD:        The defendant acted knowingly and intentionally.
     Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 2 of 13




       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

       That on or about July 15, 2017, in Glynn and Mclntosh Counties, within the

Southern District of Georgia, and elsewhere. Defendant Marcus Mungin, aided and

abetted by others known and unknown, knowingly and intentionally used a

communication facility, to wit, a telephone, in committing, causing, and facilitating

the conspiracy to possess with intent to distribute and to distribute controlled

substances, as alleged in Count One of the Indictment, incorporated by reference

herein, which constitutes a felony violation of Title 21 U.S.C. § 846.

       All done in violation of Title 18, United States Code, Section 2 and Title 21,

United States Code, Section 843(b).

3.     Possible Sentence

       Defendant's guilty plea to Count Thirty will subject him to the following

maximum possible sentence: 4 years of imprisonment, 1 year of supervised release,

a fine ofnot more than $250,000,and such restitution as may be ordered by the Co\irt.

The Court additionally must impose a $100 special assessment per count of

conviction.


4.     No Promised Sentence

       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not boimd by any

estimate of sentence given or recommendations made by Defendant's counsel, the
government, the U.S. Probation Office, or anyone else. The Court may impose a
     Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 3 of 13




sentence up to the statutory maximvim. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5,      Court's Use of Guidelines

        The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideUne range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidehnes, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidehnes are based on all of
Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.      Agreements Regarding Sentencing Guidelines

        a.    Acceptance of Responsibihtv

        The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibiUty pursuant to Section 3E1.1(a)of the Sentencing Guidehnes, Ifthe U.S.
Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibihty, the government will
move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) based on Defendant's timely notification of his intention to enter a guilty
plea.

        b.    Use ofInformation
     Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 4 of 13




       The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines

range. Any incriminating information provided by the defendant during his

cooperation will not be used in determining the applicable Guidelines range,

pursuant to U.S.S.G. § 1B1.8.

7.     Dismissal of Other Counts

       At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.     Cooperation

       a.     Complete and Truthful Cooperation Required

       Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any
related offenses. Defendant shall fully and truthfully disclose his knowledge of those

offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.

       This agreement does not require Defendant to "make a case" against any
particular person. His benefits under this agreement are conditioned only on his
cooperation and truthfulness, not on the outcome of any trial, grand jury, or other
proceeding.

       b.     Motion for Reduction in Sentence Based on Cooperation

       The government, in its sole discretion, will decide whether Defendant's
cooperation qualifies as"substantial assistance" pursuant to U.S.S.G.§ 5K1.1 or Fed.
     Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 5 of 13




R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

9.     Financial Obligations and Agreements

       a.    Restitution

       The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not hmited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment
is intended to and will survive Defendant, notwithstanding the abatement of any

imderljring criminal conviction.

       b.    Special Assessment

       Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

       c.    Rpqiiirfid Financial Disclosures

       By the date that Defendant enters a guilty plea. Defendant shall complete a
financial disclosure form listing all his assets and financial interests, whether held
directly or indirectly, solely or jointly, in his name or in the name of another.
Defendant shall sign the financial disclosure form under penalty of perjury and
provide that form to the Financial Litigation Unit of the United States Attornejr's
   Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 6 of 13




Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at
sentencing. Defendant promises that he will make no such transfers in the future.
        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.
        g.    Enforcement
      Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 7 of 13




        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount ofthe

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt
without regard to or affecting any payment schedule imposed by the Court.

10.     Waivers

        a.    Waiver of Appeal

        Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory
maximum,(2)the court enters a sentence above the advisory Sentencing Guidelines
range found to apply by the court at sentencing; or (3) the Government appeals the
sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

        b.    Waiver of Collateral Attack

        Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.
   Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 8 of 13




§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

      c.     FQIA and Privacv Act Waiver

      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

      d.     Fed. R. Cnm P. lUfr and Fed. R. Evid. 410 Waiver

      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails
to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements
in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

11.    Defendant's Rights

       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.
Defendant possesses a number of rights which he will waive by pleading guilty,
including: the right to plead not guilty, or having already so pleaded, to persist in
that plea;the right to a jury trial; and the right at trial to confront and cross-examine


                                           8
      Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 9 of 13




adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

12.     Satisfaction with Counsel

        Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work
performed by his attorney.

13.     Breach of Plea Agreement

        Defendant breaches this agreement if, prior to sentencing in his case, he fails

to comply with any of the terms of this agreement, withdraws or attempts to

withdraw his guilty plea, refuses to accept responsibility for his criminal conduct,

obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If
Defendant breaches the plea agreement, the government is released from any

agreement herein regarding the calculation ofthe advisory Sentencing Guidelines or
the appropriate sentence. Additionally, such a breach by the defendant will be a
breach of his cooperation agreement, thereby allowing the government to use all
otherwise proffer-protected information at sentencing. In addition, the government
may (1) declare the plea agreement null and void,(2)reinstate any coimts that may
have been dismissed pursuant to the plea agreement, and/or (3) file new charges
against Defendant that might otherwise be barred by this plea agreement. Defendant
waives any statute-of-limitations or speedy trial defense to prosecutions reinstated
or commenced under this paragraph.
  Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 10 of 13




14.   Entire Agreement

      This agreement contains the entire agreement between the government and

Defendant.




                         Signatures on following page




                                      10
   Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 11 of 13



                                 BOBBY         RIST
                                 UNIT        ATES^TTORNEY



Date                                    T.
                                 New York Bar No. 2809440
                                 Chief, Criminal Division




Date                             Matthew A. Joseph^n '
                                 Georgia Bar. No. 367216
                                 Assistant United States Attorney




                                   11
 Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 12 of 13




       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    Marcus Mungin, Dettdant


       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    Reid Zeh
                                        Defendant's Attorney




                                            12
     Case 2:18-cr-00014-LGW-BWC Document 491 Filed 10/31/18 Page 13 of 13




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA

V.                                                  CR 218-14


MARCUS MUNGIN

                                      ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        day nf                 ./! 2018.



                                                        TESD             COURT
                                  SOUTHERN DISTRICT OF GEORG
